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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

 FACING FOSTER CARE IN ALASKA,
 et al.,
                           Plaintiffs,
        v.                                            Case No. 1:21-cv-308
 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES, et al.,
                           Defendants.


                                              ORDER

       This matter is before the Court on Defendant’s Motion for Remand with Vacatur (ECF

41). For the reasons set forth in that motion, it is hereby

       ORDERED that those portions of the U.S. Department of Health and Human Services

(“HHS”) regulation entitled Health and Human Services Grants Regulation, 86 Fed. Reg. 2,257

(Jan. 12, 2021), that amend 45 C.F.R. §§ 75.101(f), 75.300(c), and 75.300(d), are hereby

VACATED and REMANDED to HHS. It is

       FURTHER ORDERED that Defendants’ pending Motion to Remand without Vacatur,

ECF No. 28, is DENIED AS MOOT. It is
       FURTHER ORDERED that this case is CLOSED.
       It is so ordered.

DATE: June 29, 2022
                                                        JIA M. COBB
                                                        United States District Judge




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